Case: 1:18-mc-00071-CAB Doc #: 1-1 Filed: 07/24/18 1 of 2. PagelD #: 3

AO 88B Rey. 02/14} Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Ohio

In Re: DMCA Subpoena to Namecheap, Inc.

Plaintiff 5 , . ot 34 (7%
V. Civil Adioy Np. 8 ii L
)
— Defendant )

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Copyright Agent, Namecheap, Inc. Legal Department
11400 W. Olympic Boulevard, Suite 200, Los Angeles, CA 90064

(Name of person to whem this subpoena is directed}

vi Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: All HTTP/HTTPS (Apache) server logs since 2017 associated with the domain names listed in Exhibit A for any

web pages or URLs containing the term "greenspan” and any associated images, and initial POST requests

leading to the posting of such content.

Place: 20560 Shelburne Road ~ | Date and Time:
Shaker Heights, OH 44122-1944 08/06/2018 1:00 pm

C1 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

Place: Date and Time:

The following provisions of Fed. R. Civ, P. 45 are attached — Rule 45(c), relating to the place of compliance,
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential.consequences of not doing so.
an

Date: __ 07/28/2018

CL COURT
“ OR
. Go fure of Clerk or Deputy Clerk Attorney's signature -

The name, address, e-maivog Gs res, and telephone number of the attorney representing (name ofpary) ___ Pro se party
, who issues or requests this subpoena, are:

Aaron Greenspan, 20560 Shelburne Road, Shaker Heights, OH 44122, +14156709350, aaron.greenspan@ piainsite.org

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
Case: 1:18-mc-00071-CAB Doc #: 1-1 Filed: 07/24/18 2 of 2. PagelD #: 4

AO 88B (Rey. 02/14) Subpoena (o Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No,

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 43.)

I received this subpoena for (name of individual and title, ifany)

On (date)

CJ] Iserved the subpoena by delivering a copy to the named person as follows:

on (date) ; OF

OG Treturned the subpoena unexectuted because:

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s aftendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc.:
